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                       UNITED STATES DISTRICT COURT FOR THE
                            EASTERN DISTRICT OF TEXAS
                                                                                       :        ;


    CRAIG CUNNINGHAM,                                §
    Plaintiff,                                       §
                                                     §
    V.                                               §
                                                     § Civil Case No. 4:17-cv-839
    Amber Florio, et al                              §
                                                     §
    Defendant                                        §
                                                     §


                                 Plaintiffs Notice of Settlement

     1. To the Honorable US District Court:

    2. The parties have reached a resolution in the case and request a stay of 30 days of all
        deadlines in the case to finalize the signatures and agreements




    Craig Cunningham, Plaintiff, Pro-se 3000 Custer Road, ste 270-206, Plano, Tx 75075


    10/15/2018
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                      UNITED STATES DISTRICT COURT FOR THE
                              EASTERN DISTRICT OF TEXAS


    CRAIG CUNNINGHAM,                               §
    Plaintiff,                                      §
                                                    §
    V.                                              §
                                                    § Civil Case No. 4:17-cv-839
    Amber Florio, et al                             §
                                                    §
    Defendant                                       §
                                                    §



                                Plaintiffs Certificate of Service


    I hereby certify that a true copy of the foregoing was mailed to the Defendant s atto ey

    of record in this case on 10/15/2018.




    Craig Cunningham, Plaintiff, Pro-se 3000 Custer Road, ste 270-206, Plano, Tx 75075


    10/15/2018
